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                                 Objection Deadline: June 5, 2019 at 4:00 p.m. (Prevailing Eastern Time)


     Steven J. Reisman, Esq.                                     Peter A. Siddiqui, Esq. (admitted pro hac vice)
     Jerry L. Hall, Esq. (admitted pro hac vice)                 KATTEN MUCHIN ROSENMAN LLP
     Cindi Giglio, Esq.                                          525 W. Monroe Street
     KATTEN MUCHIN ROSENMAN LLP                                  Chicago, IL 60661
     575 Madison Avenue                                          Telephone:     (312) 902-5455
     New York, NY 10022                                          Facsimile:     (312) 902-1061
     Telephone:      (212) 940-8800                              peter.siddiqui@kattenlaw.com
     Facsimile:      (212) 940-8876
     sreisman@kattenlaw.com
     jerry.hall@kattenlaw.com
     cindi.giglio@kattenlaw.com


     Counsel to Debtors and Debtors-in-Possession

     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK
                                                                 )
     In re:                                                      )        Chapter 11
                                                                 )
     SIZMEK INC., et al.,1                                       )        Case No. 19-10971 (SMB)
                                                                 )
                                       Debtors.                  )        (Jointly Administered)
                                                                 )

              NOTICE OF REJECTION OF CERTAIN EXECUTORY CONTRACTS
                             AND UNEXPIRED LEASES

                   PLEASE TAKE NOTICE that, on May 21, 2019, the United States Bankruptcy

 Court for the Southern District of New York (the “Court”) entered the order [Docket No.183] (the

 “Order”) granting the motion (the “Motion”)2 of Debtors for an order, pursuant to Bankruptcy

 Code sections 105, 365, and 554, Bankruptcy Rules 6006 and 9014, and Local Bankruptcy

 Rule 6006-1, authorizing and approving, among other things, procedures for Debtors to reject

 executory contracts and unexpired leases (each a “Contract”).



 1
      Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. and
      (8106); X Plus Two Solutions, LLC (4914). The location of Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, 5th Floor, New York, NY 10016.
 2
      Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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                PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order

 and by this written notice (this “Rejection Notice”), Debtors hereby notify you that they have

 determined, in the exercise of their business judgment, that each Contract set forth on Schedule 1

 attached hereto is hereby rejected effective as of the date (the “Rejection Date”) set forth in

 Schedule 1, or such other date as Debtors and the counterparty or counterparties to such

 Contract(s) agree.

                PLEASE TAKE FURTHER NOTICE that, parties seeking to object to Debtors’

 rejection of any Contract listed in Schedule 1 must file and serve a written objection, so that such

 objection is filed with the Court and is actually received no later than fourteen (14) calendar days

 after the date that Debtors served this Rejection Notice, upon the following parties: (i) counsel to

 Debtors, Katten Muchin Rosenman LLP, 575 Madison Ave., New York, NY 10022, Attn: Steven

 J. Reisman (sreisman@kattenlaw.com) and Katten Muchin Rosenman LLP, 525 W. Monroe

 Street, Chicago, IL 60661, Attn: Peter A. Siddiqui (peter.siddiqui@kattenlaw.com); (ii) the Office

 of the United States Trustee, U.S. Federal Office Building, 201 Varick Street, Suite 1006, New

 York, NY 10014, Attn: Richard C. Morrissey (richard.morrissey@usdoj.gov); (iii) counsel to the

 Prepetition Secured Parties, Klee, Tuchin, Bogdanoff & Stern LLP, 1999 Avenue of the Americas,

 39th Floor, Los Angeles, CA 90067, Attn: Thomas E. Patterson and David A. Filder

 (tpatterson@ktbslaw.com and dfidler@ktbslaw.com); and (iv) proposed counsel to the Committee,

 Cooley LLP, 55 Hudson Yards, New York, NY 10001, Attn: Seth Van Aalten and Michael Klein

 (svanaalten@cooley.com and mklein@cooley.com).

                PLEASE TAKE FURTHER NOTICE that, absent an objection being timely

 filed, the rejection of any Contract listed on Schedule 1 shall become effective on the Rejection

 Date set forth in Schedule 1 without further notice, hearing or order of this Court, unless (i)



                                                  2
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 Debtors withdraw such Rejection Notice on or prior to the Rejection Date or (ii) Debtors and the

 pertinent counterparty or counterparties agree, prior to the Rejection Date, upon another such date.3

                  PLEASE TAKE FURTHER NOTICE that, if a timely objection to the rejection

 of any Contract listed on Schedule 1 is timely filed and not withdrawn or resolved, Debtors shall

 file a notice of hearing to consider the unresolved objection. If such objection is overruled or

 withdrawn, Debtors will file with the Court a proposed order under certification of counsel (the

 “Rejection Order”) confirming the absence of a timely objection and the rejection of the

 Contract(s), and such Contract(s) shall be deemed rejected as of the Rejection Date set forth in

 Schedule 1 or such other date as Debtors and the counterparty or counterparties to such Contract(s)

 agree.

                  PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Order, if

 Debtors have deposited monies with a Contract counterparty as a security deposit or other

 arrangement, the Contract counterparty may not set off or recoup or otherwise use such monies

 without further order of the Court, unless Debtors and the counterparty or counterparties to such

 Contract(s) otherwise agree.

                  PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of Debtors that is listed and described in Schedule 1 shall be deemed abandoned as of

 the Rejection Date set forth on Schedule 1.

                  PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert any

 claim(s) arising out of the rejection of your Contract(s) listed on Schedule 1, you must do so before




 3
     An objection to the rejection of any particular Contract listed in Schedule 1 to this Rejection Notice shall not
     constitute an objection to the rejection of any other Contract listed in Schedule 1. Any objection to the rejection
     of any particular Contract must state with specificity the Contract to which it is directed. For each particular
     Contract whose rejection is not timely or properly objected to, such rejection will be effective in accordance
     with this Rejection Notice and the Order

                                                           3
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 the later of (i) thirty (30) days after the date of service of the Rejection Order and (ii) any applicable

 claims bar date for filing proofs of claim established in these chapter 11 cases. FAILURE TO

 TIMELY FILE ANY PROOF OF CLAIM SHALL RESULT IN SUCH CLAIM BEING

 FOREVER BARRED.



 Dated: May 22, 2019                                     /s/ Steven J. Reisman
 New York, New York                                      KATTEN MUCHIN ROSENMAN LLP
                                                         Steven J. Reisman, Esq.
                                                         Jerry L. Hall, Esq. (admitted pro hac vice)
                                                         Cindi M. Giglio, Esq.
                                                         575 Madison Avenue
                                                         New York, NY 10022
                                                         Telephone: (212) 940-8800
                                                         Facsimile: (212) 940-8876
                                                         Email:     sreisman@kattenlaw.com
                                                                    jerry.hall@kattenlaw.com
                                                                    cindi.giglio@kattenlaw.com

                                                         -and-

                                                         Peter A. Siddiqui, Esq. (admitted pro hac vice)
                                                         KATTEN MUCHIN ROSENMAN LLP
                                                         525 W. Monroe Street
                                                         Chicago, IL 60661
                                                         Telephone: (312) 902-5455
                                                         Email:      peter.siddiqui@kattenlaw.com

                                                         Counsel to Debtors and Debtors-in-Possession




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                                                                          SCHEDULE 1

                                                                       Rejected Contracts

  Debtors(s) Counterparty           Counterparty                                               Description of           Abandoned       Rejection
   Party to                            Address                                                   Contract                 Personal        Date
  Contract                                                                                                                Property 1

Sizmek DSP, Informatica   Informatica LLC                                           Lease dated October 26, 2016 for All remaining     May 22, 2019
Inc.         LLC          c/o CBRE, Inc.                                            non-residential real property    personal property
                          P.O. Box 82567                                            located at 2000 Seaport
                          Goleta, CA 93118-2567                                     Boulevard, Suite 400, Redwood Approximate Book
                                                                                    City, CA, as amended, modified Value: $2,500
                                       and
                                                                                    or otherwise supplemented
                                       Informatica LLC
                                       c/o CBRE, Inc.
                                       5100 Poplar Avenue
                                       Suite 1000
                                       Memphis, TN 38137
Sizmek        WeWork                   WeWork Uptown                                Lease of non-residential real         All remaining       May 22, 2019
Technologies, Uptown                   1920 McKinney Ave                            property located at 1920              personal property
Inc.                                   Dallas, TX 75201                             McKinney Ave, 8th Floor, as
                                                                                    amended, modified or otherwise        Approximate Book
                                       and
                                                                                    supplemented                          Value: $1,000
                                       1920 McKinney Ave Tenant LLC
                                       1920 McKinney Ave
                                       Dallas, TX 75201
                                       WE-US-81943@wework.com




1
    All of the Abandoned Personal Property listed herein is either burdensome to remove or of inconsequential value.
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 Debtors(s)    Counterparty             Counterparty                         Description of               Abandoned         Rejection
   Party to                               Address                              Contract                     Personal          Date
  Contract                                                                                                  Property1
Sizmek, Inc.   TechSpace      TechSpace Geary, Inc.                 Accommodations and Services        All remainingMay 22, 2019
               Geary, Inc.    Attn: Corri Uyeda                     License Agreement, dated           personal property
                              77 Geary Street                       February 14, 2019 for 77 Geary
                              San Francisco, CA 94108               Street, Suite 520 San          Approximate Book
                                                                    Francisco, CA 94108, as        Value: $0.00
                              and
                                                                    amended, modified or otherwise
                            TechSpace Geary, Inc.                   supplemented
                            65 Enterprise
                            Aliso Viejo, CA 92656
Sizmek, Inc.   195 Broadway 195 Broadway Property LLC               Lease dated January 19, 2016 for   All remaining       May 22, 2019
               Property LLC c/o L&L Holding Company, LLC            non-residential real property      personal property
                            142 West 57th Street                    located at 195 Broadway, New
                            New York, NY 10019                      York, New York, entire 10th        Approximate Book
                            Attn: Sr. V.P. Asset Management         Floor, as amended, modified or     Value: $0.00
                                                                    otherwise supplemented
                              and
                              Noah Shapiro
                              Holland & Knight
                              31 West 52nd Street, 12th Floor
                              New York, NY 10019
                              Noah.Shapiro@hklaw.com
Sizmek DSP, Ray Morgan        Ray A. Morgan Company                 Value Rental Lease Agreement,      N/A                 May 22, 2019
Inc.        Company           3131 Esplanade Avenue                 as amended, modified or
                              Chico, CA 95973                       otherwise supplemented
Sizmek DSP, Data Sales Co., Data Sales Co.                          Master Equipment Lease,            N/A                 May 22, 2019
Inc.        Inc.            3450 West Burnsville Parkway            including all related Schedules,
                            Burnsville, MN 55337                    as amended, modified or
                                                                    otherwise supplemented



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  Debtors(s) Counterparty            Counterparty                           Description of            Abandoned     Rejection
   Party to                              Address                              Contract                 Personal       Date
  Contract                                                                                             Property1
Sizmek DSP, WiLine          WiLine Networks, Inc.                   Customer Service Agreement, as N/A             May 22, 2019
Inc.         Networks, Inc. 104 Carnegie Center Princeton, NJ       amended, modified or otherwise
                            08540                                   supplemented
                             and
                         WiLine Networks, Inc.
                         Direct Sales Office
                         1599 Industrial Road
                         San Carlos, CA 94070
                         admin.wiline@wiline.com
Sizmek DSP, ACC Business ACC Business                               ACC Business Multi-Service      N/A            May 22, 2019
Inc.                     400 West Avenue                            Agreement, as amended,
                         Rochester, NY 14611                        modified or otherwise
                                                                    supplemented
Sizmek DSP, NFS Leasing,     NFS Leasing, Inc.                      Master Equipment Lease No.      N/A            May 22, 2019
Inc.        Inc.             900 Cummings Center                    2016-460, dated January 31,
                             Suite 226-U                            2017, including all related
                             Beverly, MA 01915                      Schedules, as amended, modified
                                                                    or otherwise supplemented
                             and
                             Richard E. Mikels, Esq.
                             Pachulski Stang Ziehl & Jones LLP
                             780 Third Avenue, 34th Floor
                             New York, NY 10017
                             rmikels@pszjlaw.com




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  Debtors(s) Counterparty           Counterparty                        Description of              Abandoned     Rejection
   Party to                           Address                             Contract                   Personal       Date
  Contract                                                                                           Property1
Sizmek DSP, NFS Leasing, NFS Leasing, Inc.                      Lease Agreement, including all   N/A             May 22, 2019
Inc.         Inc.         900 Cummings Center                   related Schedules, as amended,
                          Suite 226-U                           modified or otherwise
                          Beverly, MA 01915                     supplemented
                            and
                            Richard E. Mikels, Esq.
                            Pachulski Stang Ziehl & Jones LLP
                            780 Third Avenue, 34th Floor
                            New York, NY 10017
                            rmikels@pszjlaw.com
Sizmek DSP, NFS Leasing,    NFS Leasing, Inc.                   Lease Agreement, including all   N/A             May 22, 2019
Inc.        Inc.            900 Cummings Center                 related Schedules, as amended,
                            Suite 226-U                         modified or otherwise
                            Beverly, MA 01915                   supplemented
                            and
                           Richard E. Mikels, Esq.
                           Pachulski Stang Ziehl & Jones LLP
                           780 Third Avenue, 34th Floor
                           New York, NY 10017
                           rmikels@pszjlaw.com
Sizmek DSP, Dell Financial Dell Financial Services L.L.C.       Master Lease Agreement, dated    N/A             May 22, 2019
Inc.        Services       Attn: Legal Department               June 13, 2014, including all
            L.L.C.         One Dell Way                         related Schedules, as amended,
                           Round Rock, TX 78682                 modified or otherwise
                                                                supplemented




                                                            4
